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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF LOUISIANA

   PHILLIP CALLAIS, LLOYD PRICE, BRUCE
   ODELL, ELIZABETH ERSOFF, ALBERT
   CAISSIE, DANIEL WEIR, JOYCE LACOUR,
   CANDY CARROLL PEAVY, TANYA                            Case No. 3:24-cv-00122-DCJ-CES-RRS
   WHITNEY, MIKE JOHNSON, GROVER
   JOSEPH REES, and ROLFE MCCOLLISTER,                   Judge David C. Joseph
                                                         Judge Carl E. Stewart
                        Plaintiffs,                      Judge Robert R. Summerhays

            v.
                                                          Magistrate Judge Kayla D. McClusky
   NANCY LANDRY, in her official capacity as
   Secretary of State of Louisiana,

                        Defendant.

                                 MOTION TO APPEAR PRO HAC VICE

            In accordance with the local rules for the United States District Court of the Western

   District of Louisiana, this application seeks to admit Sarah Brannon pro hac vice to the bar of this

   Court for the purpose of appearing on behalf of Proposed Intervenors Press Robinson, Alice

   Washington, Clee Ernest Lowe, Ambrose Sims, Edgar Cage, Dorothy Nairne, Davante Lewis,

   Edwin René Soulé, Martha Davis, Louisiana State Conference of the NAACP, and Power

   Coalition for Equity and Justice in the above-described action.

        •    Ms. Brannon is ineligible to become a member of this court, but she is a member in good

             standing of the bar of the Supreme Court of the State of Maryland, which is the highest

             court of such state. Attached hereto is a certificate of good standing from such court.

        •    Payment of the applicable fee of $105.00 is made via the court’s electronic filing system

             using Pay.gov.

        •    There have been no disciplinary proceedings or criminal charges instituted against Ms.

             Brannon.


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       •   In accordance with the local rules for the United States District Court of the Western

           District of Louisiana, I, John Adcock, am acting as local counsel.

       •   Ms. Brannon and I authorize the Clerk of Court for the Western District of Louisiana to

           transmit notice of entries of judgments and orders to me and Ms. Brannon under Fed. R.

           Civ. P. 77, Fed. R. Cr. P. 49, LR 5.7.10. We also agree to receive notice electronically

           from other parties and the court via electronic mail. We understand that electronic mail

           filter software (SPAM filer) may interfere with the receipt of e-mail notices and have

           verified that any such software installed on our computers or networks will not filter our

           messages sent from Clerk@lawd.uscourts.gov. We understand this electronic notice will

           be in lieu of notice by any other means. We understand it is our responsibility to advise

           the Clerk’s Office promptly in writing of any physical address changes and/or update

           electronic mail addresses within the court’s electronic filing system.



    Date: February 26, 2024                             Respectfully submitted,


     s/ Sarah Brannon                                   s/ John N. Adcock
     Sarah Brannon                                      John N. Adcock (La. Bar No. 30372)
     Deputy Director, Voting Rights Project             Adcock Law LLC
     American Civil Liberties Union                     3110 Canal Street
     915 15th St. NW                                    New Orleans, LA 70119
    (212) 549-2500                                      (504) 233-3125
    Washington, DC 20005                                jnadcock@gmail.com
    sbrannon@aclu.org




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                                     CERTIFICATE OF SERVICE

          I hereby certify that on February 26, 2024, I presented the foregoing Petition for Admission

   Pro Hac Vice to the Clerk of Court for filing and uploading to the CM/ECF system, which will

   send notification of such filing to all counsel of record.



                                                         s/ John N. Adcock
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                                                         New Orleans, LA 70119
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